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                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MAINE



Bonny L. Hutchins Buzzell

     v.                                       Civil No. 16-cv-280-PJB

Skowhegan Saving Bank et al.



Bonny L. Hutchins Buzzell

     v.                                       Civil No. 16-cv-281-PJB

Kirk R. House et al.


Bonny L. Hutchins Buzzell

     v.                                       Civil No. 16-cv-282-PJB

Broadway Veterinary Clinic et al.


                                O R D E R


     On January 13, 2017, this Court conducted a preliminary

review of the complaints filed in the above-captioned cases,

pursuant to 28 U.S.C. § 1915(e)(2), and issued an Order (Doc.

No. 24) (“January 13 Order”) finding that the allegations in the

complaints, complaint addenda, and other filings, failed to

assert any cognizable cause of action.        In the January 13 Order,

the court directed that all three of plaintiff’s pending cases

be dismissed unless plaintiff was able to show cause why any of
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the cases should not be dismissed.

     Before the court are plaintiff’s filings in response to the

January 13 Order, each of which has been docketed in each of the

above-captioned cases.1     Those filings are each construed as

motions to show cause why the complaints in this matter should

not be dismissed.     Additionally, in the instant filings,

plaintiff makes the following requests: mediation of these

cases, permission to file documents in these cases by fax, an

evidentiary hearing, and that the court docket an appeal of this

case.

     The factual assertions in the motions to show cause are, as

were the complaint documents, disjointed, convoluted, and

largely conclusory.      Stripped of legal conclusions, none of the

factual assertions in the motions before the court give rise to

any cognizable claim for relief.         Accordingly, the court finds

that plaintiff has failed to show cause why the above-captioned

actions should not be dismissed, and directs that each case be

dismissed, and that the clerk enter judgment in and close each

case.   Further, plaintiff’s additional requests for relief are




     1See Hutchins   Buzzell v. Skowhegan Saving Bank, No. 16-cv-
280-PJB (Doc. Nos.   25-27); Hutchins Buzzell v. House, No. 16-cv-
281-PJB (Doc. Nos.   25-27); Hutchins Buzzell v. Broadway
Veterinary Clinic,   No. 16-cv-282-PJB (Doc. Nos. 26-28).


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denied, without prejudice to plaintiff’s ability to file a

proper appeal after judgment enters in the above-captioned

cases.



                               Conclusion

      For the foregoing reasons, the court directs as follows:

      1.   Each of the above-captioned cases is dismissed.            The

clerk is directed to enter judgment and close each case.

      2.   Any additional relief plaintiff has sought in her

motions to show cause is denied, without prejudice to

plaintiff’s ability to file a proper appeal after judgment

enters in the above-captioned cases.

      SO ORDERED.



                                  /s/Paul Barbadoro
                                  Paul Barbadoro
                                  United States District Judge
                                  Sitting By Designation

April 20, 2017

cc:   Bonny L. Hutchins Buzzell, pro se




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